         Case 22-60043 Document 392 Filed in TXSB on 01/18/23 Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                                §   Chapter 11 (Subchapter V)
                                                      §
FREE SPEECH SYSTEMS, LLC                              §   Case No. 22-60043
                                                      §
         Debtor.                                      §
---------------------------------------------------   §
In re:                                                §
                                                      §   Chapter 11
ALEXANDER E. JONES,                                   §
                                                      §   Case No. 22-33553
         Debtor.                                      §

      DEBTOR’S WITNESS AND EXHIBIT LIST FOR HEARING SCHEDULED FOR
         JANUARY 20, 2023, AT 11:00 A.M. (PREVAILING CENTRAL TIME)

         Alexander E. Jones (“Jones” and “Debtor”), debtor and debtor-in-possession in the above-

referenced Chapter 11 case, respectfully submits this Witness and Exhibit List for the hearing to

be held on January 20, 2023, at 11:00 a.m. (prevailing Central Time) (the “Hearing”):

                                                 WITNESSES

             1. Any witness listed or called by any other party.

             2. Rebuttal witnesses as necessary; and

             3. The Debtor reserves the right to cross-examine any witness called by any other
                party.
                                          EXHIBITS

         Debtor may offer for admission into evidence any of the following exhibits at the earing:

Ex.                       Description                     Offered Objection Admitted/Not Disposition
                                                                             Admitted
1     Declaration of Vickie L. Driver [ECF # 69-2]

2.    Table of Prior Representations [ECF # 69-3]

3.    List of Utility Companies [ECF # 70]

4.    Declaration of Shelby A. Jordan [ECF #71-2]



DEBTOR’S WITNESS AND EXHIBIT LIST - Page 1
        Case 22-60043 Document 392 Filed in TXSB on 01/18/23 Page 2 of 3




5.   Supplemental Declaration of Vickie L. Driver
     [ECF # 89]
6.   Supplemental Declaration of Shelby Jordan
     [ECF # 90]
7.   Employment Agreement


       Debtor reserves the right to supplement, amend or delete any exhibit prior to the Hearing.

Debtor also reserves the right to use any exhibit presented by any other party and to ask the Court

to take judicial notice of any document. Debtor finally reserves the right to introduce exhibits

previously admitted.

Respectfully submitted this 18th day of January, 2023.

                                             CROWE & DUNLEVY, P.C.


                                             By: /s/ Christina W. Stephenson
                                             Vickie L. Driver
                                             State Bar No. 24026886
                                             Christina W. Stephenson
                                             State Bar No. 24049535
                                             2525 McKinnon St., Suite 425
                                             Dallas, TX 75201
                                             Telephone: 737.218.6187
                                             Email: dallaseservice@crowedunlevy.com
                                             -and-
                                             Shelby A. Jordan
                                             State Bar No. 11016700
                                             S.D. No. 2195
                                             Antonio Ortiz
                                             State Bar No. 24074839
                                             S.D. No. 1127322
                                             JORDAN & ORTIZ, P.C.
                                             500 North Shoreline Blvd., Suite 900
                                             Corpus Christi, TX 78401
                                             Telephone: (361) 884-5678
                                             Facsimile: (361) 888-5555
                                             Email: sjordan@jhwclaw.com
                                             aortiz@jhwclaw.com
                                             Copy to: cmadden@jhwclaw.com

                                             PROPOSED ATTORNEYS FOR
                                             ALEXANDER E. JONES

DEBTOR’S WITNESS AND EXHIBIT LIST - Page 2
        Case 22-60043 Document 392 Filed in TXSB on 01/18/23 Page 3 of 3




                                CERTIFICATE OF SERVICE

        A true and correct copy of the foregoing document was filed with the Court on January 18,
2023, and served electronically upon those parties registered to receive electronic notice via the
Court’s CM/ECF system. Exhibit 7 was served via electronic mail on Debtor’s counsel, counsel
for the Subchapter V Trustee, counsel for the U.S Trustee and counsel for the Official Committee
of Unsecured Creditors for Alexander E. Jones.



                                             /s/ Christina W. Stephenson
                                             Christina W. Stephenson




DEBTOR’S WITNESS AND EXHIBIT LIST - Page 3
